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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 23-cv-01921-MDB

DR. ANUJ PEDDADA

       Plaintiff,

v.

CATHOLIC HEALTH INITIATIVES COLORADO D/B/A CENTURA HEALTH-
PENROSE-ST. FRANCIS HEALTH SERVICES; and,
COMMONSPIRIT HEALTH FOUNDATION D/B/A COMMONSPIRIT HEALTH

       Defendants.


           ELECTION CONCERNING CONSENT/NON-CONSENT TO
            UNITED STATES MAGISTRATE JUDGE JURISDICTION
______________________________________________________________________

       Under 28 U.S.C. § 636(c) and

       (1)     D.C.COLO.LCivR 40.1(c) (Assignment of Cases/Direct Assignment to
               Magistrate Judges);

       or

       (2)     Fed. R. Civ. P. 73 and D.C.COLO.LCivR 72.2 (Consent Jurisdiction of a
               Magistrate Judge);

       or

       (3)     D.C.COLO.LAPR 72.2 (Consent Jurisdiction of a Magistrate Judge).

                                       CHECK ONE

                  all parties in this civil action CONSENT to have a United States
magistrate judge conduct all proceedings in this civil action, including trial, and to order
the entry of a final judgment;

                                             OR
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       [X]         at least one party in this civil action DOES NOT CONSENT to have a
United States magistrate judge conduct all proceedings in this civil action, including trial,
and to order the entry of a final judgment.


       Signatures                          Party Represented                  Date

______/s/ Iris Halpern______       _________Plaintiff ______ ______9/20/2023___

Print name_____Iris Halpern ___________________________

______/s/ Melvin B. Sabey ___        __ Defendants _____        _____9/20/2023_____

Print name_____Melvin B. Sabey ________________________________

_________________________          _________________________           ________________


NOTE:         You are directed to confer with all parties in this action and execute and
              file with the Court this Election Concerning Consent/Non-Consent to
              United States Magistrate Judge Jurisdiction, indicating either the
              unanimous consent of the parties or that at least one party has declined to
              consent, at the earlier of (1) no later than seven days before the
              scheduling conference, if any; or (2) 45 days after the filing of the first
              response, other than an answer, to the operative complaint. All parties
              must either consent to the exercise of magistrate judge jurisdiction, or any
              party may decline to consent. In either event, filing of the Election
              Concerning Consent/Non-Consent to United States Magistrate Judge
              Jurisdiction is mandatory, indicating either the unanimous consent of
              the parties or that at least one party has declined to consent.
